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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                               AUGUSTA DIVISION

In re:                                              )       Chapter 7
Robert B. Norland,                                  )
Kimberly L. Norland                                 )       Case No.       17-10785-SDB
       Debtors,                                     )
_________________________________________           )
                                                    )
Joseph E. Mitchell, III, Chapter 7 Trustee          )
For Robert B. Norland & Kimberly L. Norland         )       Adversary Proceeding
       Plaintiff,                                   )       No. 18-01011-SDB
v.                                                  )
Brickyard Holdings, LLC                             )
       Defendant.                                   )
                                                    )

                                CERTIFICATE OF SERVICE

        This is to certify that the undersigned has this day served a copy of the foregoing
SUMMONS, NOTICE and COMPLAINT upon the below-named parties by depositing true and
accurate copies of the same into the United States Mail, with proper postage affixed and addressed
as follows:

                                   Brickyard Holdings, LLC
                c/o its Manager and Registered Agent for Service, Scott Seymour
                                      7401 Graham Road
                                   Fairburn, Georgia, 30213

                      CERTIFIED, RETURN RECEIPT REQUESTED
                       TRACKING NO.: 9590 9402 3577 7305 0891 56
                         AND REGULAR FIRST CLASS MAIL


       This 6th day of July, 2018.



                                                    /s/ James S.V. Weston
                                                    James S.V. Weston
                                                    Georgia State Bar No.: 750251
                                                    Attorney for Plaintiff

TROTTER JONES, LLP
3527 Walton Way Extension

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